                                                              United States Bankruptcy Court
                                                               Northern District of Alabama
In re:                                                                                                                 Case No. 19-05171-DSC
Donna Pollard                                                                                                          Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1126-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Nov 08, 2021                                               Form ID: pdfall                                                           Total Noticed: 37
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 10, 2021:
Recip ID                 Recipient Name and Address
db                     + Donna Pollard, 1236 Huffman Road, Birmingham, AL 35215-6335
10377073                 AT&T CORP, by American InfoSource as agent, PO Box 5072, Carol Stream, IL 60197-5072
10316710               + BB&A, PO Box 90260, Indianapolis, IN 46290-0260
10316711               + Frederick S. Hecht Esq., 9247 N Meridian St Ste 101, Indianapolis, IN 46260-1813
10580017                 Freedom Mortgage Corporation, 10500 Kincaid Drive, Fishers, IN 46037-9764
10316696               + JT Smallwood, Tax Collector, RM 160 Courthouse, 716 Richard Arrington Jr. Blvd N, Birmingham, AL 35203-0133
10316712                 Jason B. Patrick Esq., PO Box 312277, Enterprise, AL 36331-2277
10316713               + Maury Cobb Attoryney at Law LLC, 301 Beacon Pkwy Ste 100, Birmingham, AL 35209-3103
10316714               + Rausch Sturm, PO Box 312277, Enterprise, AL 36331-2277
10353919               + RoundPoint Mortgage Servicing Corporation, 446 Wrenplace Road, Fort Mill, SC 29715-0200
10316693               + Roundpoint Mortgage, P.O. Box 19409, Charlotte, NC 28219-9409
10335744               + SANTANDER CONSUMER USA, P.O. Box 560284, Dallas, TX 75356-0284
10316715               + Santander Consumer USA, P.O. Box 961211, Fort Worth, TX 76161-0211
10316694                 Santander Consumer USA Inc., Attn: Bankruptcy Department, PO Box 560284, Dallas, TX 75356-0284
10316708                 TD Bank USA/ Target Credit, NCD-0450 P.O. Box 1470, Minneapolis, MN 55440
10316718               + TD Bank USA/Target Credit, PO Box 673, Minneapolis, MN 55440-0673
10316719               + US Attorney, 1801 4th Ave N, Birmingham, AL 35203-2101

TOTAL: 17

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
10316699                  Email/Text: g17768@att.com
                                                                                        Nov 09 2021 00:22:00      AT&T Services, Inc., Attn: Karen A. Cavagnaro,
                                                                                                                  One AT&T Way, Room 3A104, Bedminster, NJ
                                                                                                                  07921-2694
10316698               + Email/Text: bsimmons@amsher.com
                                                                                        Nov 09 2021 00:22:00      Amsher Collection Services Inc, Attn: Bankruptcy,
                                                                                                                  4524 Southlake Pkwy Ste 15, Birmingham, AL
                                                                                                                  35244-3271
10316700                  Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Nov 09 2021 00:31:41      Capital One, PO Box 30281, Salt Lake City, UT
                                                                                                                  84130-0281
10324762                  Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Nov 09 2021 00:31:41      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
10316701               + Email/Text: bk@creditcentralllc.com
                                                                                        Nov 09 2021 00:22:00      Credit Central, LLC, 700 E. North St, Suite 15,
                                                                                                                  Greenville, SC 29601-3013
10316695                  Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Nov 09 2021 00:22:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
10368748                  Email/Text: JCAP_BNC_Notices@jcap.com
                                                                                        Nov 09 2021 00:22:00      Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                                  Saint Cloud Mn 56302-9617
10316702               + Email/Text: Mercury@ebn.phinsolutions.com
                                                                                        Nov 09 2021 00:22:00      Mercury Card/FB&T, 1415 Warm Springs Rd,




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                             Imaged Certificate of Notice Page 1 of 4
District/off: 1126-2                                               User: admin                                                            Page 2 of 3
Date Rcvd: Nov 08, 2021                                            Form ID: pdfall                                                      Total Noticed: 37
                                                                                                            Columbus, GA 31904-8366
10317563              + Email/PDF: rmscedi@recoverycorp.com
                                                                                   Nov 09 2021 00:31:43     PRA Receivables Management, LLC, PO Box
                                                                                                            41021, Norfolk, VA 23541-1021
10316703                 Email/Text: bankruptcy@republicfinance.com
                                                                                   Nov 09 2021 00:22:00     Republic Finance, LLC, 282 Tower Rd.,
                                                                                                            Ponchatoula, LA 70454
10316697                 Email/Text: bankruptcy@revenue.alabama.gov
                                                                                   Nov 09 2021 00:22:00     State of Alabama Dept of Revenue, Legal
                                                                                                            Division, PO Box 320001, Montgomery, AL
                                                                                                            36132-0001
10316705              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Nov 09 2021 00:31:39     SYNCB/Belk, PO Box 965005, Orlando, FL
                                                                                                            32896-5005
10316706              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Nov 09 2021 00:31:23     SYNCB/Care Credit, PO Box 965036, Orlando,
                                                                                                            FL 32896-5036
10316704              + Email/Text: Bankruptcy.Noticing@Security-Finance.com
                                                                                   Nov 09 2021 00:22:00     Security Finance Corp, PO Box 3146,
                                                                                                            Spartanburg, SC 29304-3146
10316716              + Email/Text: Bankruptcy.Noticing@Security-Finance.com
                                                                                   Nov 09 2021 00:22:00     Security Finance Corp Office, PO Box 1893,
                                                                                                            Spartanburg, SC 29304-1893
10318808              + Email/Text: Bankruptcy.Noticing@Security-Finance.com
                                                                                   Nov 09 2021 00:22:00     Security Finance Corporation, Central Bankruptcy,
                                                                                                            PO Box 1893, Spartanburg, SC 29304-1893
10316707              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Nov 09 2021 00:31:23     Syncb/Lowes, PO Box 956005, Orlando, FL
                                                                                                            32896-0001
10316717              + Email/PDF: gecsedi@recoverycorp.com
                                                                                   Nov 09 2021 00:31:49     Synchrony Bank, 170 Election Road, Draper, UT
                                                                                                            84020-6400
10364081              + Email/Text: bncmail@w-legal.com
                                                                                   Nov 09 2021 00:22:00     TD Bank USA, N.A., C O WEINSTEIN &
                                                                                                            RILEY, PS, 2001 WESTERN AVENUE, STE
                                                                                                            400, SEATTLE, WA 98121-3132
10611565                 Email/Text: documentfiling@lciinc.com
                                                                                   Nov 09 2021 00:21:00     Tea Olive, LLC, PO BOX 1931, Burlingame, CA
                                                                                                            94011-1931
10316719              + Email/PDF: USAALN.BNC@usdoj.gov
                                                                                   Nov 09 2021 00:31:56     US Attorney, 1801 4th Ave N, Birmingham, AL
                                                                                                            35203-2101

TOTAL: 21


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason    Name and Address
cr              *+               FREEDOM MORTGAGE CORPORATION, 10500 Kincaid Drive, Fishers, IN 46037-9764
cr              *+               PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541-1021
cr              *+               Tea Olive, LLC, PO Box 1931, Burlingame, CA 94011-1931
10316709        ##+              Allied Interstate LLC, PO Box 361774, Columbus, OH 43236-1774

TOTAL: 0 Undeliverable, 3 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.




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District/off: 1126-2                                             User: admin                                                            Page 3 of 3
Date Rcvd: Nov 08, 2021                                          Form ID: pdfall                                                      Total Noticed: 37

Date: Nov 10, 2021                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 8, 2021 at the address(es) listed
below:
Name                            Email Address
Bradford W. Caraway
                                ctmail@ch13bham.com bhamch13@ecf.epiqsystems.com

Diane C Murray
                                on behalf of Creditor RoundPoint Mortgage Servicing Corporation ndbankruptcy@tblaw.com

Enslen Crowe
                                on behalf of Creditor RoundPoint Mortgage Servicing Corporation ndbankruptcy@tblaw.com

Michael D. Brock
                                on behalf of Debtor Donna Pollard bankruptcy@brockandstoutlaw.com
                                bankruptcy@managelawfirm.com;bkbackup@managelawfirm.com


TOTAL: 4




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                             Imaged Certificate of Notice Page 3 of 4
                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION
  In Re:                                  )
                                          )
  Donna Pollard                           )   Case No. 19-05171-DSC13
                                          )
         Debtor(s).                       )
  ______________________________________________________________________________

                                        NOTICE AND ORDER

         These matters are before the Court on the Debtor’s Motion to Expedite Hearing (the “Motion

  to Expedite”) (Doc. No. 50) and the Debtor’s Motion to Refinance Home (the “Motion to Refinance”)

  (Doc. No. 48) filed by Debtor’s counsel, Chadwick A. Cotant.

         It appears to the Court that the Movant has not demonstrated sufficient cause under Rule

  9006(c) of the Federal Rules of Bankruptcy Procedure to shorten the notice requirements. Based upon

  the foregoing, the Motion to Expedite is due to be denied.

         Based on the filings, the Court has considered the Motion to Refinance and it appears to the

  Court that the Motion is due to be granted.

         Therefore, it is ORDERED, ADJUDGED, and DECREED that the Motion to Expedite (Doc.

  No. 50) is DENIED.

         It is further ORDERED, ADJUDGED, and DECREED that the Motion to Refinance (Doc.

  No. 48) is GRANTED, unless a written objection to said Motion and a request for hearing are filed

  within 14 days of the entry of this Notice and Order. If an objection and a request for hearing are

  timely filed, a hearing will be scheduled by a subsequent notice.

         If no objections are filed, then the Debtor may proceed with entering into the loan agreement

  with the same or substantially similar terms as described in the Motion to Refinance and Exhibit.

         Dated: November 8, 2021                                 /s/ D. Sims Crawford
                                                                 D. SIMS CRAWFORD
                                                                 United States Bankruptcy Judge




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